         Case 1:22-cv-02754-APM Document 8 Filed 04/14/23 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
ISAI JARA,                                )
                                          )
      Plaintiff,                          )
                                          )
             v.                           )
                                          ) Case No. 22-cv-2754 (APM)
U.S. CAPITOL POLICE,                      )
                                          )
      Defendant.                          )
_________________________________________ )

                                            ORDER

       For the reasons set forth in the court’s Memorandum Opinion, ECF No. 7, Defendant’s

Motion to Dismiss, ECF No. 4, is granted.

       This is a final, appealable order.




Dated: April 14, 2023                                  Amit P. Mehta
                                                United States District Court Judge
